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38 44 (Rev,.04/21)

purpose of initiating the civil docket sheet,

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other ada: af rdquZlP3 law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEAT PAGE OF THIS FORM)

Uni
Case 4:23-cv-00630 Document 1-1 Filed on 02/17/23 in TXSDsoltage, th or Tee

Texas

FILED

I. (a) PLAINTIFFS
Braden Group B.V.

(b) County of Residence of First Listed Plaintiff

and Braden Americas, Inc.

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number}

Fish & Richardson

P.C., 901 Fannin St., 21st Floor

Houston, TX 77010; (713) 654-5300

NOTE:

Attomeys (if Known}

County of Residence of First Listed Defendant

Nathan Ochsner, Clerk of Court

EnergyLink International Inc. and EnergyLink Corporation

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Il. BASIS OF JURISDICTION (Piace an “x” it Gne Box Only)

(For Diversity Cases Only}

Il, CITIZENSHIP OF PRINCIPAL PARTIES (Place an "x" in One Box for Plainiff

and One Box for Defendant)

CT 1 U.S..Government [x]3 Federal Question PTF DEF PTF DEF
Plaintiff (US. Government Not a Party) Citizen of This State C I C] 1 Incorporated or Principal Place TC 4 L]4
of Business In This State
C]2 U.S, Government 4 Diversity Citizen of Another State O 2 cE] 2 Incorporated and Principal Place O 5 CO 5
Defendant (indicate Citizenship of Parties in Hem Hi) of Business In Another State
Citizen or Subject ofa []3 {] 3 Foreign Nation Cle (C6
Foreign Country
I¥V. NATURE OF SUIT (Piace an “x" in One.Box Onty) Click here for: Nature of Suit Code Descriptions.
L __- CONTRACT Boe “TORTS . FORFEITURE/PENALTY ||? BANKRUPTCY. °°: |) - OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 831 423 Withdrawal ‘376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability CJ 367 Health Care/ ?INFELLECTUAL | 400 State Reapportionment
150 Recovery of Overpayment 320 Assault, Libel & Pharmaceutical “PROPERTY RIGHTS © {| 410 Antitrust
& Enforcement of Judgment Slander Personal Injury [x] 820 Copyrights 430 Banks and Banking
151 Medicare Act 330 Federal Employers’ Product Liability $30 Patent 450 Commerce
H 152 Recovery of Defaulted Liability [_] 368 Asbestos Personal H $35 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine: Injury Product New Drug Application 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liabiliry 840 Trademark Corrupt Organizations
[1153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR 880 Defend Trade Secrets |_| 480 Consumer Credit
of Veteran's Benefits 350 Moter Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692}
Lj 160 Stockholders’ Suits 355 Motor Vehicle 371 Truth in Lending Act | 485 Telephone Consumer
[_] 190 Other Contract Product Liability [_] 380 Other Personal | |720 Labor/Management SARSOCTAL SECURITY SEs] Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff} 490 Cable/Sal TV
196 Franchise Injury Ol 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
| | 362 Personal Injury - Product Liability 751 Family and Medical 863 DIWC/DIWW (405(2)) Exckange
Medical Malpractice Leave Act 864 SSID Title XVI | | 890 Other Statutory Actions
REAL PROPERTY: « ~.. CIVIL RIGHTS PRISONER PETITIONS - 790 Other Labor Litigation 865 RSI (405(2)) | | 891 Agricultural Acts
|_| 210 Land Condemnation 440 Other Civil Rights Habeas Corpus: 791 Employee Retirement : 893 Environmental Matters
| _]220 Foreclosure 441 Voting |_| 463 Alien Detainee Income Security Act WAFEDERALTAX'SUTTSEe| | 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment |_| 516 Motions to Vacate 1 | 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Ton Product Liability Accommodations [| 530 General y | 871 IRS—Third Panty H 899 Administrative Procedure
[_]290 All Other Real Property 445 Amer. w/Disabilities -[__] 535 Death Penalty IMMIGRATION: | 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
446 Amer, w/Disabilities -[__| 540 Mandamus & Other 465 Other [mmigration |_| 950 Constitutionality of
Other $80 Civil Rights Actions State Statutes
448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confinement

V. ORIGIN (Place on “¥" it One Box Onty)

1 Original
ix) Proceeding

A 2 Removed from
State Court

oO 3. Remanded from
Appellate Court

r44 Reinstated or oO 5 Transferred from
Another District

(specifiy

Reopened

Transfer

“6 Multidistrict
Litigation -

oo 8 Multidistrict
Litigation -
Direct Fife

Vi. CAUSE OF ACTION

17 U.S.C, 107 et seq.

Cite the U.S. Civil Statute under which you are filing (De net cite jurisdictional statutes unless diversity}.

Brief description of cause:

Copyright infringement
VII. REQUESTEDIN = () CHECK IF THIS ISA CLASS ACTION DEMAND § CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: [xX]yes []No
VIII. RELATED CASE(S)
IF ANY (Bee insraenonsy:  nge DOCKET NUMBER
DATE SIGNATURE OF ATTGRNEY OF RECORD
Feb 17, 2023 is/ Bailey K. Benedict
FOR OFFICE USE ONLY
RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

